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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO.
               v.                             :
                                              :       20-cr-117 (DLF)
                                              :       20-cr-135 (DLF)
                                              :
GRAHAM LLOYD, et al.                          :
JASON CHARTER                                 :
                                              :
                       Defendants.            :

                                   JOINT STATUS REPORT

       At the last status hearing on the above-captioned cases, the Court ordered parties to confer

on the government’s proposed protective order governing some discovery in this case (ECF No.

34). The Court ordered the parties to file a joint status report with an update for the Court by

December 4, 2020. The government has discussed this joint status report with the defendants and

now makes the following representations:

       Since the last status hearing, the parties have made significant progress in reaching a

consent protective order. The parties are currently finalizing the details of the order and expect to

have a resolution shortly. Accordingly, the government anticipates filing an unopposed motion for

the consent protective order along with the text of the proposed order within the next few days, in

advance of the December 10, 2020 status hearing.


                                                      Respectfully submitted,

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                                                      Acting United States Attorney
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